`Case 2:05-CV-02308-SHI\/|-STA Document 9 Filed 07/19/05 Page 1 of 5 Page|D 19

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVIS ION

DIANNE WOODS, individually, and in her
representative capacity as mother and
administratrix of the estate of

 

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ANTONIO MILLER, deceased,
Plaintiff,
VS. NO. 05-2308 Ma\An
IURY DEMANDED
SHELBY COUNTY, TENNESSEE;

ANTHONY ALEXANDER, individually, and in his
official capacity as Director of Chief of

Operations of the Shelby County Division of
Corrections; GEORGE M. LlTTLE, individually,
and in his official capacity as Director of the

Shelby County Division of Corrections; and
CORRECTIONAL MEDICAL SERVICES, INC.,

Defendants.

 

[PROPOSED] RULE 16(b) SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held on July 20, 2005 . At the

conference, the following dates were established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):
JOINING PARTIES:
Plaintiff:
Defendant:
AMENDING PLEADINGS:

Plaintiff:
Defendant:

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with Ru£e ou andjor 79(a) FHCP on fm

August 3, 2005

September 20, 2005
October 20, 2005

September 20, 2005
October 20, 2005

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COMPLETING ALL DISCOVERY: March 20, 2006
(a) REQUEST FOR PRODUCITON,
INTERROGATORIES AND
REQUST FOR ADMISSIONS: March 20, 2006
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i)) Plaintiff’s Expert: January 20, 2006
(ii) Defendant’s Experts: February 20, 2006

(ii) Supplemeotation under Rule 26(e): March 2, 2006

(c) DEPOSITIONS OF EXPERTS: March 20, 2006
FILING DISPOSITIVE MOTIONS: April 20, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last three or four days. The presiding judge will set
this matter for Jury Trial. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least 10 days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Request for Production and requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allows 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or Within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good d cause shown, or any objection to the default, response, or
answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order
and a certificate of Consultation.

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The opposing party may tile a response to any motiOn filed in this matter. Neither party
may tile an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless all parties
agree to a continuance, or an emergency arises which precludes the matter from proceeding to trial.
The parties have not consented to trial before the Magistrate Judge.

T he parties are encouraged to court-annexed attorney mediation or private mediation _o_l;

or before the close of discovery. The parties are willing to mediate this cause and will agree to

use a court-annexed attorney mediation.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

 

 

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UNITED srArEs MAGISTRATE IUDGE
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Approved by:

  

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Notice of Distribution

This notice confirms a copy oi` the document docketed as number 9 in
case 2:05-CV-02308 Was distributed by i`ax, mail, or direct printing on
July 21, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

